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                                                                   1   TYSON & MENDES LLP
                                                                       THOMAS E. MCGRATH
                                                                   2   Nevada Bar No. 7086
                                                                       Email: tmcgrath@tysonmendes.com
                                                                   3   3960 Howard Hughes Parkway, Suite 600
                                                                       Las Vegas, Nevada 89169
                                                                   4   Tel: (702) 724-2648
                                                                       Fax: (702) 938-1048
                                                                   5   Attorneys for Defendants

                                                                   6                            UNITED STATES DISTRICT COURT

                                                                   7                                     DISTRICT OF NEVADA

                                                                   8   LAURA MEGILL, individually, and as natural       2:11-cv-01964-KJD-GWF
                                                                       parent and guardian of BROOKE MEGILL, a
                                                                   9   minor, and ALAINA MEGILL, a minor,

                                                                  10                       Plaintiff,
                                                                       vs.                                                 STIPULATION AND ORDER TO
                                                                  11                                                      DISMISS COMPLAINT WITHOUT
                                                                       METROPOLITAN DIRECT PROPERTY AND
3960 Howard Hughes Parkway, Suite 600




                                                                  12   CASUALTY INSURANCE COMPANY;                      PREJUDICE AND SUBMIT CLAIMS TO
                                                                       METROPOLITAN DIRECT PROPERTY AND                       BINDING ARBITRATION
                                        Las Vegas, Nevada 89169




                                                                  13   CASUALTY INSURANCE COMPANY dba
                                                                       METLIFE AUTO & HOME; METROPOLITAN
                                                                  14   GROUP PROPERTY AND CASUALTY
                                                                       INSURANCE COMPANY; METROPOLITAN
                                                                  15   GROUP PROPERTY AND CASUALTY
                                                                       INSURANCE COMPANY dba METLIFE
                                                                  16   AUTO & HOME; METROPOLITAN
                                                                       PROPERTY AND CASUALTY INSURANCE
                                                                  17   COMPANY; METROPOLITAN PROPERTY
                                                                       AND CASUALTY INSURANCE COMPANY
                                                                  18   dba METLIFE AUTO & HOME; METLIFE
                                                                       INSURANCE COMPANY OF
                                                                  19   CONNECTICUT; METLIFE INSURANCE
                                                                       COMPANY OF CONNECTICUT dba
                                                                  20   METLIFE AUTO & HOME; METLIFE
                                                                       AUTO & HOME; DOES I through X, inclusive;
                                                                  21   and ROE BUSINESS ENTITIES I through X,
                                                                       inclusive,,
                                                                  22
                                                                                           Defendants.
                                                                  23

                                                                  24         IT IS HEREBY STIPULATED and agreed by and between Plaintiffs LAURA MEGILL,

                                                                  25   individually, and as natural parent and guardian of BROOKE MEGILL, a minor, and ALAINA

                                                                  26   MEGILL, a minor (“Plaintiffs”) and Defendants METROPOLITAN DIRECT PROPERTY AND

                                                                  27   CASUALTY INSURANCE COMPANY; METROPOLITAN DIRECT PROPERTY AND

                                                                  28   CASUALTY INSURANCE COMPANY dba METLIFE AUTO & HOME; METROPOLITAN

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                                                                   1   GROUP PROPERTY AND CASUALTY INSURANCE COMPANY; METROPOLITAN

                                                                   2   GROUP PROPERTY AND CASUALTY INSURANCE COMPANY dba METLIFE AUTO &

                                                                   3   HOME; METROPOLITAN PROPERTY AND CASUALTY INSURANCE COMPANY;

                                                                   4   METROPOLITAN PROPERTY AND CASUALTY INSURANCE COMPANY dba METLIFE

                                                                   5   AUTO & HOME; METLIFE INSURANCE COMPANY OF CONNECTICUT; METLIFE

                                                                   6   INSURANCE COMPANY OF CONNECTICUT dba METLIFE AUTO & HOME;

                                                                   7   METLIFEAUTO & HOME (hereafter “METLIFE”), by and through their respective

                                                                   8   undersigned counsel, that the parties will submit the claims at issue in the above-captioned action

                                                                   9   to binding contractual arbitration.

                                                                  10          Furthermore, in accordance with this agreement, Plaintiffs will withdraw their pending

                                                                  11   Motion to Compel Arbitration and hereby dismiss, without prejudice, their Complaint in this
3960 Howard Hughes Parkway, Suite 600




                                                                  12   action, with each party to bear their own fees and costs related to the same.
                                        Las Vegas, Nevada 89169




                                                                  13   Dated this 20th day of October 2020.               Dated this 20th day of October 2020.

                                                                  14   CAP & KUDLER                                       TYSON & MENDES, LLP

                                                                  15   /s/ Donald C. Kudler                               /s/ Thomas E. McGrath
                                                                       DONALD C. KUDLER                                   THOMAS E. MCGRATH
                                                                  16   Nevada Bar No. 5041                                Nevada Bar No. 7086
                                                                       3202 West Charleston Boulevard
                                                                  17   Las Vegas, Nevada 89102                            3960 Howard Hughes Parkway, Suite 600
                                                                       Attorneys for Plaintiffs                           Las Vegas, Nevada 89169
                                                                  18                                                      Attorneys for Defendants METLIFE
                                                                       Dated this 20th day of October 2020.
                                                                  19
                                                                       HALL JAFFE & CLAYTON, LLP
                                                                  20
                                                                       /s/ Steven T. Jaffe
                                                                  21   STEVEN T. JAFFE
                                                                       Nevada Bar No. 7035
                                                                  22   KEVIN P. KING
                                                                       Nevada Bar No. 7405
                                                                  23   7425 Peak Drive
                                                                       Las Vegas, Nevada 89128
                                                                  24   Attorneys for Defendants METLIFE

                                                                  25                  IT IS SO ORDERED

                                                                  26          Dated this 21st         day of   October                      , 2020.
                                                                       __
                                                                  27
                                                                                                                                 ___________________
                                                                  28                                                     UNITED STATES DISTRICT JUDGE

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